          Case 1:21-cr-00496-TJK Document 82 Filed 04/28/23 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-00496-TJK
                                           )
MARK S. IBRAHIM,                           )
                                           )
         DEFENDANT.                        )
__________________________________________)

              MOTION FOR ABEYANCE
———————————————————————————————————————


       Pursuant to Local Rule of Civil Procedure 16.2, Defendant hereby moves for his case to

be held in abeyance while his interlocutory appeal, ECF No. 78 and Court of Appeals Docket #

23-3037, is pending before the United States Court of Appeals for the D.C. Circuit.

       Undersigned counsel has entered her appearance on behalf of Mark Ibrahim in the Court

of Appeals, see Document #1991254.

       The appellate matter is currently active and pending.

       The interlocutory appeal is grounded in the claim that the Defendant is entitled to the

protection of legislative immunity under 40 U.S.C. § 5104(e)(1)(A) and therefore should be

shielded from the burden of going to trial. The exemption language in this statute functions as a

grant of legislative immunity, which places federal law enforcement officers outside the purview

of those who can be charged or prosecuted for the statutory offense. This immunity is

functionally equivalent to other types of immunity, such as double jeopardy or qualified

immunity, which are subject to interlocutory appeal. Therefore, the Court of Appeals has



                                              PAGE 1 / 2
          Case 1:21-cr-00496-TJK Document 82 Filed 04/28/23 Page 2 of 2




jurisdiction over the Defendant's interlocutory appeal. This argument is further bolstered by a

recent decision in AXON ENTERPRISE, INC. v. Federal Trade Commission, No. 21-86 (U.S.

Apr. 14, 2023), which supports the Defendant's interlocutory jurisdictional claim.

       The Defendant, Mr. Ibrahim, is not in custody but is rather under supervised release and

has complied with the terms of his pretrial release since July of 2021. At present, the case is still

in the discovery stage, and no trial date has been set.

       Given these circumstances, the defense requests that the proceedings in this court be

suspended until the United States Court of Appeals for the D.C. Circuit renders an opinion on the

Defendant's interlocutory appeal.



                                               Respectfully submitted,

                                               By Counsel:

                                                      /s/
                                               Marina Medvin, Esq.
                                               Counsel for Defendant
                                               MEDVIN LAW PLC
                                               916 Prince Street
                                               Alexandria, Virginia 22314
                                               Tel: 888.886.4127
                                               Email: contact@medvinlaw.com


                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on April 28, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                     /s/
                                               Marina Medvin, Esq.



                                                PAGE 2 / 2
